                                                                                       ~~s.
        Case 4:16-cr-00242-A Document 90 Filed 02/08/17            Page 1 of 2 PageID 231
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ORIGINAL                                                         ·0 Npn~nk~k~cr OQl/f{
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                           IN THE UNITED STATES DISTRICT COURT {(;i . r. WORTH /;f:Ji£1Jrfx
                           FOR THE NORTHERN DISTRICT OF TEXAS                  l \:20flF'tB                      N
                                  FORT WORTH DIVISION                                  .•        ~e P/1 :3:
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   UNITED STATES OF AMERICA                                                                      orcouRr
   v.                                                Criminal No. 4:16-CR-242-A

   BALDEMAR SOLIS (01)                               ENHANCEMENT
   alk:la "Bait"                                     INFORMATION

                                                     [21 U.S.C. §§ 841(b)(1)(B):
                                                     Penalty Enhancement for
                                                     a Prior Conviction for a Felony
                                                     Drug Offense]



  THE UNITED STATES ATTORNEY CHARGES:

           PENALTY ENHANCEMENT INFORMATION

           The United States Attorney for the Northern District of Texas files this

   enhancement infom1ation and notifies the above-named Defendant pursuant to Title 21

   United States Code, section 851 that based on Baldemar Solis's prior conviction for a

   felony drug offense dated October 19, 1995, for Possession of Marihuana- 5-50lbs, in

   Case No. 0583502D, in the Criminal District Court No. 1, Tarrant County, Texas, the

   Defendant is subject to increased punishment if convicted. In the event that the

   Defendant is convicted of Count One of the Indictment in this cause, then the United

   States Attorney for the Northern District of Texas will move the court to enhance the

   Defendant's sentence pursuant to Title 21, United States Code, section 841 (b)( 1)(B),




   Penalty Information
   United States v. Baldemar Solis
   Cause No. 4:16-CR-242-A (01)      Page-l
   Case 94:16-cr-00242-A Document 90 Filed 02/08/17             Page 2 of 2 PageID 232


which provides for a sentence of imprisonment of not less than I 0 years and not more

than life, a fine of up to $8,000,000.00, and a te11i:l of supervised release for not less than

8 years.


                                            Respectfully submitted,

                                            JOHNR. PARKER
                                            UNI     TATESATTORNEY


                                            s
                                            Assistant United States Attorney
                                            Texas State Bar No. 24033206
                                            801 Cherry Street, Suite 1700
                                            Fort Worth, Texas 76102
                                            Telephone: 817-252-5200
                                            Facsimile: 817-252-5455


                                  CERTIFICATE OF SERVICE

       I hereby certify that on fAoc,,"N0 ,'l0\1, the foregoing Government's Penalty
Information was served by first class m~il to T rri Moore at 300 Burnett Street
Suite 160, Fort Worth, Texas 76102.


                                            s
                                            Assistant United States Attorney




Penalty Information
United States v. Baldemar Solis
Cause No. 4:16-CR-242-A (Ol)      Page-2
